        Case: 3:16-cv-00761-jdp Document #: 4 Filed: 02/27/17 Page 1 of 3



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF WISCONSIN


 CRAIG CUNNINGHAM,

                             Plaintiff,
        v.
                                                                  OPINION & ORDER
 MICHAEL MONTES, TOLLFREEZONE.COM, INC.,
 MYDATAGUYS.COM, LLC,
                                                                      16-cv-761-jdp
 PODMUSICGEAR.COM, INC.,
 EMAILMYVMAIL.COM, INC., and
 JOHN/JANE DOE 1-10,

                             Defendants.


       Plaintiff Craig Cunningham filed suit against defendant Michael Montes and his

businesses, alleging that defendants called Cunningham’s cell phone using an autodialer, in

violation of the Telephone Consumer Protection Act (TCPA), 47 U.S.C. § 227(b) and (c).

Dkt. 1. Cunningham attempted to serve Montes with the summons and complaint, but has

been unable to do so. He asks the court for leave to serve Montes (and his businesses) by

publication. Dkt. 3.

       Federal Rule of Civil Procedure 4(e)(1) permits service pursuant to the law of the state

in which the district court sits—here, Wisconsin. Wis. Stat. § 801.11(1)(c) permits service by

publication after a plaintiff exercises reasonable diligence to serve a defendant, either

personally or by leaving the summons and complaint at the defendant’s home with an adult

resident or a family member at least 14 years old.

       Cunningham’s motion indicates that he enlisted the help of the St. Croix County

Sheriff’s Office to serve Montes. A deputy sheriff attempted to serve Montes at a house in St.

Croix County, which county records indicate Montes owns. According to the deputy sheriff’s
         Case: 3:16-cv-00761-jdp Document #: 4 Filed: 02/27/17 Page 2 of 3



certificate, he could not locate Montes at that address, but left his business card there and

later called the phone number associated with the address. Montes told the deputy sheriff

over the phone that he does not live at that address and would not disclose his current

address. He said that Cunningham would have to “hunt him down.” Dkt. 3-3, at 4.

       The court concludes that Cunningham has exercised reasonable diligence to serve

Montes, and so it will grant Cunningham’s motion for service by publication. Cunningham

must follow the publication procedures required by the Wisconsin statutes, including mailing

a copy of the summons and complaint to Montes’s post office box. Because Cunningham has

good cause for failing to serve Montes within 90 days of filing his complaint, the court will

extend the time for service under Rule 4(m) to allow Cunningham time to accomplish service.

Cunningham must file proof of service by publication with this court within 45 days of the

day of this order.

       Cunningham also asks the court to issue subpoenas to Verizon Wireless so that he

may obtain cell site location data for Montes. But because the court will allow Cunningham

to serve Montes by publication, he does not need to ascertain Montes’s physical location. So

the court will deny Cunningham’s motion for subpoenas as unnecessary.



                                          ORDER

       IT IS ORDERED that:

       1. Plaintiff Craig Cunningham’s motion for leave to conduct service via publication,
          Dkt. 3, is GRANTED.

       2. Plaintiff’s request for the clerk to issue 10 subpoenas, Dkt. 3, is DENIED.




                                              2
 Case: 3:16-cv-00761-jdp Document #: 4 Filed: 02/27/17 Page 3 of 3



3. Cunningham must file proof of service with the court within 45 days of the date of
   this order.

Entered February 27, 2017.

                                   BY THE COURT:

                                   /s/
                                   ________________________________________
                                   JAMES D. PETERSON
                                   District Judge




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